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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  RAYMOND PRUITT,                                       )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )        No. 1:18-cv-01658-TWP-MJD
                                                        )
  S. KNIGHT, et al.                                     )
                                                        )
                                Defendants.             )
                                                        )
                                                        )
  ANGELA JOHNSON,                                       )
  AMANDA L. SHELBY,                                     )
  MATTHEW R. ELLIOTT,                                   )
  SARAH R. DOTY,                                        )
  CARITA AUSTIN,                                        )
  JESSICA B. COX,                                       )
  JACOB R. COX,                                         )
                                                        )
                                Recruited Counsels.     )


                         MINUTE ENTRY FOR OCTOBER 21, 2020
                        TELEPHONIC SETTLEMENT CONFERENCE
                      HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared in person and by counsel for a telephonic settlement conference.

  This matter has been resolved. Therefore, all pending motions, if any, are now DENIED AS

  MOOT and all previously ordered dates relating to discovery, filings, schedules, conferences,

  and trial, if any, are VACATED.

         Within sixty (60) days of the date of this entry, counsel for the parties shall file a

  motion to dismiss this cause and submit an order for the Court's signature ordering the dismissal

  of this action or a stipulation of dismissal (consistent with the agreement of the parties).
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  Additional time to complete the execution of the necessary documents may be granted for good

  cause shown, if requested in writing before expiration of this period.

         SO ORDERED.




         Dated: 21 OCT 2020




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